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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA


    In re Lakeview Loan Servicing Data Breach               Case No. 1:22-cv-20955-DPG
    Litigation


   LOLETA RILEY                                            Case No.: 0:22-cv-60833-DPG

                     Plaintiff,

   vs.

   LAKEVIEW LOAN SERVICING, LLC,

                    Defendant.


                                    ORDER OF CONSOLIDATION

          THIS CAUSE comes before the Court on the parties’ Notice of Related Case [ECF No.

  22]. The Court has reviewed the Notice and being fully advised, it is

          ORDERED AND ADJUDGED that Riley v. Lakeview Loan Servicing, LLC, No. 0:22-

  cv-60833-DPG, shall be consolidated with the actions in Master File Case No. 1:22-cv-20955-

  DPG for all pre-trial purposes pursuant to Federal Rule of Civil Procedure 42(a). The parties shall adhere

  to the instructions and deadlines contained in the initial Consolidation Order [Master File ECF No. 19] The

  Clerk is directed to administratively CLOSE Riley v. Lakeview Loan Servicing, LLC, No. 0:22-

  cv-60833-DPG.

          DONE AND ORDERED in Chambers at Miami, Florida, this 11th day of May 2022.




                                                   ________________________________
                                                   DARRIN P. GAYLES
                                                   UNITED STATES DISTRICT JUDGE
